          Case 4:11-cr-00156-JM Document 557 Filed 01/29/13 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                NO. 4:11CR00156-15 JLH

STEPHEN EARL HILL                                                                DEFENDANT

               AMENDMENT TO JUDGMENT & COMMITMENT ORDER

       The Judgment & Commitment Order entered on January 24, 2013, is hereby amended to

reflect defendant’s correct USM/Register Number as 26752-009.

       All other conditions contained in the original Judgment & Commitment Order remain in full

force and effect.

       IT IS SO ORDERED this 29th day of January, 2013.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
